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                                                            U.S. Department of Justice
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                                                            District of Maryland

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                                                               May 17, 2021

The Honorable Richard D. Bennett
United States District Judge
U.S. Courthouse
101 W. Lombard Street
Baltimore, Maryland 21201

           Re:        United States v. Jessie Walton, Jr.
                      Crim. No. RDB-19-0506

Dear Judge Bennett:

        The government submits this memorandum in anticipation of the May 20, 2021 sentencing
in the above-captioned case. The government recommends a sentence of no greater than 40
months. The parties appear to dispute few, if any, facts relevant to the Court’s consideration. The
differences in recommendation arise primarily, if not completely, from differing perspectives
regarding the weight afforded to those agreed facts. Regardless, the government submits that a
below guidelines sentences is warranted here.

                                   INTRODUCTION AND PROCEDURAL HISTORY

        On October 24, 2019, a federal grand jury in the District of Maryland returned an
indictment charging Jessie Walton, Jr. and four other individuals with two Hobbs Act violations:
Conspiracy to Interfere with Commerce by Robbery (Count One) and Interference with Commerce
by Robbery (Count Two), in violation of 18 U.S.C. § 1951(a). ECF No. 1. On November 7, 2019,
the grand jury returned a superseding indictment adding a sixth individual to the substantive
robbery charge. ECF No. 8. 1 On February 11, 2021, Mr. Walton pleaded guilty to Count Two of
the First Superseding Indictment, Interference with Commerce by Robbery. ECF 139.

                                          SENTENCING PROCEDURE

       In Gall v. United States, 552 U.S. 38 (2007), the Supreme Court set forth a multi-step
process for imposing sentence in a criminal case. Id. at 51-52. A sentencing court should begin
by correctly calculating the applicable guidelines range. Id. at 49. After providing the parties with

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 In July 2020, the grand jury returned a second superseding indictment, which added a seventh
defendant to the Hobbs Act counts and charged two of Mr. Walton’s co-defendants with firearms
violations under 18 U.S.C. § 924(c)
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an opportunity to present argument, the district court should then consider the factors set forth in
18 U.S.C. § 3553(a). Id. at 49-50.

                                     FACTUAL BACKGROUND

       As stipulated in the plea agreement, Mr. Walton and six other individuals participated in
an armed home invasion that involved physically restraining one victim and physically assaulting
an eight-month pregnant woman, all in front of the victims’ seven-year-old child. Mr. Walton and
his accomplices met at Wal-Mart parking lot in Abingdon, Maryland. At that parking lot, the
group consolidated from three to two vehicles—one driven by Mr. Walton—and drove almost one
hour to the victims’ residence in Cecil County, Maryland. After Mr. Walton and the other driver
parked at a school near the victims’ apartment, five individuals exited the vehicles.

        While Mr. Walton remained in his vehicle, his co-defendants forced entry, brandished
firearms, and assaulted both adults in the presence of their seven-year-old child. The female adult
victim, approximately eight months pregnant, found herself staring down the barrel of a firearm
before being kicked in her abdomen. The group fled the apartment after a take far below their
expectations. Mr. Walton returned his passengers to Harford County. He was arrested less than
three months later by the Maryland State Police and remained in state custody until being
transferred to federal custody in November 2019.

                            SENTENCING GUIDELINES CALCULATION

        The government agrees with the guidelines calculations set forth in the presentence
investigation report (“PSIR”). As stipulated in the plea agreement, Mr. Walton’s base offense
level is 20, pursuant to United States Sentencing Guideline (“U.S.S.G.”) 2B3.1(a). PSIR at ¶ 18,
ECF 151. Certain conduct and circumstances support the application of various enhancements to
the offense level. PSIR at ¶¶ 19-22.

       Notwithstanding the resolution of the adjustment disputes raised by Mr. Walton, the
government agrees that the offense should be adjusted down three levels for acceptance of
responsibility pursuant to U.S.S.G. §§ 3E1.1(a), 3E1.1(b). PSIR ¶¶ 28-29.

                             The disputed injury and role adjustments

       As reserved in paragraphs 6(e) and 6(f) of the plea agreement, Mr. Walton argues that the
bodily injury enhancement should be no greater than three levels and that the mitigating role
adjustment should be four levels. Def.’s Sentencing Mem. at 4-5. The government agrees with
the PSIR.

        First, a four-level enhancement for “serious bodily injury” is appropriate. The Guidelines
define “serious bodily injury” as “injury involving extreme physical pain or the protracted
impairment of a function of a bodily member, organ, or mental faculty; or requiring medical
intervention such as surgery, hospitalization, or physical rehabilitation.” U.S.S.G. 1B1.1
cmt. 1(M). As stipulated in the plea agreement, this offense involved the brandishing of firearms
by two individuals, assault of the male victim with one firearm, and, pertinent to this enhancement,
assault of the eight-month pregnant victim by kicking her in the abdomen, which led to her seeking
medical attention and having an emergency Caesarian section shortly after the robbery. The need
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for such immediate and significant medical attention satisfies the Guidelines definition of “serious
bodily injury.”

        The foreseeability argument raises a slightly closer question but one that the Guidelines
appears to anticipate and answer. See Def.’s Sentencing Mem. at 4 (arguing that “the conduct was
outside the scope of the offense as anticipated by him”). Conduct relevant to guidelines
determinations includes acts and omissions of others during the offense that are “within the scope
of the jointly undertaken criminal activity, in furtherance of that criminal activity, and reasonably
foreseeable in connection with that criminal activity.” U.S.S.G. § 1B1.3(a)(1)(B). In providing
an example, the Guidelines commentary explains that a getaway driver in an armed bank robbery
is accountable for an assault on and injury to a bank teller because that injury “was reasonably
foreseeable in connection with that criminal activity (given the nature of the offense).” U.S.S.G.
§ 1B1.3 cmt. 4(B); see also United States v. Fitzwater, 896 F.2d 1009, 1012 (6th Cir. 1990)
(upholding bodily injury enhancement applied to getaway driver in a bank robbery conspiracy
where bank teller was injured; “it is reasonably foreseeable that participation in concerted criminal
conduct to [commit robbery] rob a bank might result in the infliction of” injury). The government
recognizes that Mr. Walton was neither personally involved in nor in the immediate presence of
the assault. That is a consideration under 18 U.S.C. § 3553(a), as noted below.

        Second, the government agrees with the PSIR calculation of the reduction pursuant to
U.S.S.G. § 3B1.2 (“mitigating role”). The Guidelines Manual provides a mitigating role
adjustment to a “substantially less culpable than average participant in the criminal activity.”
U.S.S.G. § 3B1.2 cmt. 3(A). No less than five considerations are relevant here, perhaps the most
relevant being Mr. Walton’s understanding of the scope and structure and the nature and extent of
his participation. U.S.S.G. § 3B1.2 cmt. 3(C). There is no material dispute as to Mr. Walton’s
role in the offense, nor is there any dispute that he was not an organizer, planner, or decision-
maker. While Mr. Walton may not have fully known all participants or appreciated the intricate
details of the robbery plan, the stipulated facts indicate his participation in the offense—an
important role given the distance traveled—and suggest at least general awareness of a plan to use
a showing of force against others.

       For these reasons, the government agrees with the PSIR’s Guidelines calculations.

                                 The applicable Guidelines range

        The government will address at sentencing the final Guidelines range after the Court’s
resolution of the issues raised by the defense memorandum. As noted above, the government
agrees with the PSIR calculations. Mr. Walton’s criminal history category is I. The applicable
guidelines range based on the PSIR calculations is 63 to 78 months.

                          FACTORS SET FORTH IN 18 U.S.C. § 3553(A)

       Based on the 18 U.S.C. § 3553(a) factors, the government recommends a below guidelines
sentence, one no greater than 40 months. The Sentencing Reform Act calls for a sentence sufficient
but not greater than necessary to achieve Congress’ goals for sentencing. In submitting this
recommendation, the government recognizes that Mr. Walton did not personally invade the
victims’ home or commit the more outrageous acts of the robbery, and he has a light criminal
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history. In any event, the sentence should reflect his involvement in an armed intrusion into a
family’s home and his specific role in that conduct.

       Again, there appears to be little, if any, material dispute about what Mr. Walton did or did
not do in connection with this home invasion. The government makes this recommendation
regardless of the applicable guidelines calculations. Undersigned counsel will address these
considerations more fully during the sentencing hearing.

                      Nature and Circumstances of the Offense (3553(a)(1))

        There is no doubt as to the seriousness of this offense. The violation of the victims’
privacy, the assault on the adults, the trauma imposed on the minor child—all reflect the horrors
of armed robberies in the home, a place many look to for safety and comfort. He played an integral
role in providing transportation for half of the participants. Without minimizing the outrageous
conduct involved, it is fair to note that Mr. Walton was by no means a ringleader or strongman in
this robbery. He never left his vehicle or appeared to have a substantial financial or other incentive
to steal from the victims. Thus, this factor favors a substantial sentence, but not necessarily one
high in the expected guidelines range.

                     History and Characteristics of the Offender (3553(a)(1))

        Mr. Walton’s criminal history is brief and dated. He is a 49-year-old man with a single
criminal conviction: a twenty-year-old false/misleading information offense. He lacked any other
arrests before the summer of 2019.

        As noted in the PSIR and defense sentencing memorandum, he appears to endure various
and significant mental health conditions in additional to physical conditions. These characteristics
warrant consideration in fashioning a sentence appropriate for addressing not only the nature of
the offense but also the likelihood of recidivism and future threats to his community.

               The Need for the Sentence to Reflect the Seriousness of the Offense, to Provide
               Just Punishment for the Offense, to Afford Adequate Deterrence to Criminal
               Conduct and to Protect the Public from Further Crimes of the Defendant
               (3553(a)(2))

        The government’s recommendation takes into consideration the seriousness of the offense,
as described above; imposes punishment as called for by Congress; provides a means of deterrence
given the recommended sentence far exceeds his only term of incarceration; and protects the
public—including the specific victims on April 25, 2019—from any additional criminal conduct
by Mr. Walton and his accomplices.

       The government submits that a below guidelines sentence is appropriate in part because
the guidelines enhancements arise in large part from conduct of others. Their conduct is relevant
because it was foreseeable and integral to the nature of the offense. But the individualized
sentencing analysis for Mr. Walton should remain focused on his acts, knowledge, and role. The
recommendation accounts for the severity of the offense without placing the full weight of its
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scope and damage on Mr. Walton’s shoulders. 2

       It remains the interest of the parties and the public that after his release, Mr. Walton avoids
conduct that will bring him before the Court again. To that end, the government joins the
recommendation for both mental health treatment and vocational training that would facilitate
successful completion of supervised release and avoidance of being involved—whether wittingly
or not—in facilitating robberies, assaults, or worse.

                                          *       *       *

       The government believes that on the facts specific to Mr. Walton, a sentence of no greater
than 40 months is sufficient but not greater than necessary to achieve the goals in 18 U.S.C.
§ 3553(a).

       I thank the Court for its consideration of this matter.

                                                      Very truly yours,

                                                      Jonathan F. Lenzner
                                                      Acting United States Attorney

                                                      _____/s/____________________
                                                      Charles Austin
                                                      Assistant United States Attorney


cc: counsel of record via ECF




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  This recommendation also accounts for sentencing ranges agreed to by other defendants. Most
relevant, the other driver—who has a more significant criminal history than Mr. Walton—is
expected to appear in open court later this month to agree to a sentence no lower than 36 months.
